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                            UNITED STATES DISTRICT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Case No. 21-mj-00686
                                              )
LUCAS DENNEY,                                 )
                                              )       NOTICE OF ERRATA
       Defendant.                             )


     The Defendant Lucas Denny (“Defendant”) respectfully submits this Notice of Errata, to its

Motion for Admission Pro Hac Vice of William L. Shipley, which was filed on March 2, 2022, as

Docket No. 17, in order to correct an inadvertent omission. Due to an oversight, the declaration of

William L. Shipley did not include an original, ink signature which is required by this Court. A

corrected declaration of William L. Shipley, with an original ink signature is attached hereto as

this and incorporated herein by reference. Plaintiff apologizes for this error.

Dated: March 2, 2022                          /s/ John M. Pierce
                                              John M. Pierce
                                              21550 Oxnard Street
                                              3d Floor, PMB#172
                                              Woodland Hills, CA 91367
                                              Tel: (213) 279-7846
                                              Email: jpierce@johnpiercelaw.com

                                              Attorneys for Defendant Lucas Denney
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                          CERTIFICATE OF SERVICE

      I hereby certify that, on March 18, 2021, this motion and the accompany

declaration was filed via the Court’s electronic filing system, which constitutes

service upon all counsel of record.

                                        /s/ John M. Pierce
                                        John M. Pierce
